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   8

   9                           UNITED STATES BANKRUPTCY COURT

  10                           SOUTHERN DISTRICT OF CALIFORNIA

  11
       In Re:                                 CASE NO: 17-06078-MM7
  12

  13
       CORE SUPPLEMENT                        OPPOSITION BY FORMER CHAPTER 11
  14
       TECHNOLOGY, INC.,                      CHIEF RESTRUCTURING OFFICER
  15                                          RICHARD FEFERMAN TO CHAPTER 7
                Debtor.                       TRUSTEE RICHARD M KIPPERMAN’S
  16                                          MOTION TO DISGORGE COMPENSATION
  17
                                              DATE: May 7, 2020
  18                                          TIME: 10:00 a.m.
                                              DEPT: 1, Room 218
  19

  20                                          Honorable Margaret M. Mann

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   2
             Debtor’s former Chapter 11 Chief Restructuring Officer Richard Feferman (the
   3
       “Former CRO”) respectfully submits this Opposition to the Motion by Chapter 7
   4
       Trustee, Richard M Kipperman, to Disgorge Compensation Paid to Chapter 11 Chief
   5
       Restructuring Officer, Richard Feferman, filed on March 3, 2020 (Dkt. 371) (the
   6
       “Motion”). This Opposition is based on the below memorandum of points and
   7
       authorities, the supporting Request for Judicial Notice, and the concurrently filed
   8
       Declarations of Richard Feferman and Richard Bass, all of which, including exhibits
   9
       thereto, are incorporated herein by reference.
  10

  11                           I.      PRELIMINARY STATEMENT
  12
             The Motion seeks disgorgement of the Former CRO’s compensation earned in
  13
       this matter.   Despite bearing the burden of justifying the “harsh remedy” of
  14
       disgorgement (see In re Home Loan Serv. Corp., 533 B.R. 302, 309 (Bankr. N.D. Cal.
  15
       2015)), however, the Motion is unsupported by evidence that that equitable factors
  16
       customarily applied by courts to support disgorgement are met here, and relies on
  17
       scant and inapposite authority. Put bluntly, the Motion is baseless.
  18
             Disgorgement is not warranted. The contention that “the CRO was negligent
  19
       in the dispatch of his duties,” see Paragraph 4 of the Declaration of Richard M
  20
       Kipperman in Support of Motion (the “Kipperman Declaration”), is unsupported and
  21
       incorrect. As set forth below and in the supporting declarations, the Former CRO
  22
       earned his reasonable compensation by diligently discharging the duties he was
  23
       engaged to perform. He did this despite a Debtor badly handicapped by a non-
  24
       functioning accounting department and further handicapped by the Debtor’s retention
  25
       of inexperienced and inadequate bankruptcy counsel.             Despite the significant
  26
       challenges he faced, the Former CRO consistently exercised sound business judgment
  27
       in the best interests of creditors and the Court. And the Former CRO’s services
  28
       resulted in measurable and substantial value to creditors. As a result of the Former

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   1
       CRO’s efforts to negotiate a sale of the Debtor’s assets, the Chapter 7 estate netted
   2
       $410,600.00 for the benefit of creditors and the administration of the bankruptcy case.
   3
       Without the Former CRO’s work, it is likely that all the Debtor’s cash would have
   4
       been consumed by the secured creditors. The assets of the Chapter 7 estate would
   5
       have consisted of only avoidance actions but no cash to finance any avoidance
   6
       litigation.
   7
                Setting aside the inequity of the disgorgement remedy under the circumstances,
   8
       disgorgement would also not be beneficial to the estate. That is because Bank of
   9
       America—the Debtor’s biggest secured creditor—expressly carved out the Former
  10
       CRO’s compensation from its own cash collateral. Bank of America would therefore
  11
       have rightful claim to any funds disgorged by the Former CRO. Thus, the very
  12
       premise of the Motion—i.e., that the estate would benefit from disgorgement—is
  13
       false.
  14

  15                                 II.     STATEMENT OF FACTS
  16
          A. The Former CRO is Presented with Substantial Challenges Outside of his
  17         Control.
  18            The Debtor Core Supplement Technology, Inc. (the “Debtor”) filed its petition
  19   in this case on October 3, 2017. The Debtor was in the business of formulating and
  20   manufacturing nutritional supplements.
  21            The Debtor approached the Former CRO in December 2017 to “assist in the
  22   administration of the bankruptcy estate and expeditious sale of the business or all or
  23   substantially all of the business’s assets, whichever would result in the greatest
  24   recovery for the estate’s creditors.” See Dkt. 88, Decl. of Joseph O’Dea in Support of
  25   Mot. to Retain CRO, ¶ 9; see also Decl. of Richard Feferman in Support of Opp.
  26   (“4/6/20 Feferman Decl.”), ¶ 2. The Former CRO agreed to the engagement and to
  27   accept significantly lower rates than those he ordinarily charges for comparable
  28   engagements. 4/6/20 Feferman Decl., ¶ 2.


                                                      2
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   1
                  As Debtor informed the Court in its Memorandum of Points and Authorities in
   2
       Support of its Motion to Retain the Former CRO, his retention was motivated in large
   3
       part by “substantial disagreement among the members of the Board of Directors and
   4
       also between the shareholders as to the direction the case should take and who should
   5
       lead the Debtor through the Case” and, absent the appointment of a CRO, “progress
   6
       on this case [was] likely to be impeded again by more dispute amongst the Board
   7
       Members and Shareholders.” Request for Judicial Notice in Support of Opp. (“RJN”),
   8
       Ex. 1 at 7. The Former CRO, by virtue of his appointment, would “remove[] the sole
   9
       source of dispute among the various factions on the Board of Directors and
  10
       Shareholders.” Id.
  11
                  The terms of the Former CRO’s engagement, outlined in the final Agreement
  12
       for the Engagement of a Chief Restructuring Officer, as fully vetted and approved by
  13
       the Court and the U.S. Trustee, (“Engagement Agreement”) and as modified and
  14
       supplemented by the CRO’s supplemental declaration filed on January 23, 2018 (the
  15
       “1/23/18 Feferman Declaration”) set forth the scope and expectations regarding the
  16
       Former CRO’s duties.                    The Engagement Agreement and 1/23/18 Feferman
  17
       Declaration are attached to the February 23, 2018 Court Modified Order on Debtor’s
  18
       11 USC 363 and 105(a) Motion for Appointment of a Chief Restructuring Officer (the
  19
       “CRO Engagement Order”) as Exhibits 1 and 2, respectively.1 The Engagement
  20
       Agreement, as supplemented by the 1/23/18 Feferman Declaration and as approved
  21
       by the Court, was a product of extensive negotiation and input by the Former CRO,
  22
       the Debtor, the U.S. Trustee, the Debtor’s secured creditors, and the Court. 4/6/20
  23
       Feferman Decl., ¶ 4.
  24
                  Under the Engagement Agreement the Former CRO had the duty and power to
  25
       handle the sale of Debtor’s assets in a manner that would maximize value to creditors,
  26
       to manage the business and financial affairs of Debtor, and to supervise administration
  27
       of the Chapter 11 case. See Engagement Agreement § 1(b).
  28
       1
           The CRO Engagement Order, including its Exhibits, are attached to the 4/6/20 Feferman Declaration as Exhibit A.

                                                                   3
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   1
             Prior to the time the Former CRO was approached by the Debtor in December
   2
       2017, the Debtor had staffed its accounting department with a single clerk serving the
   3
       role of Chief Financial Officer, after the Debtor’s actual Chief Financial Officer had
   4
       left the company before the Chapter 11 filing. As set forth in the supporting
   5
       declaration of the Debtor’s former IT manager, Richard Bass, filed concurrently
   6
       herewith (the “Bass Declaration”) after the former Chief Financial Officer left, the
   7
       accounting department was being run by Kathy Haycook who had originally been
   8
       hired as an accounting clerk. Bass Decl., ¶ 2. The accounting department was in a
   9
       substantial amount of disarray. Id., ¶ 3; 4/6/20 Feferman Decl., ¶ 5. In the weeks
  10
       following the Chapter 11 filing, Ms. Haycook got further and further behind in her
  11
       work and her health suffered. Bass Decl., ¶ 4. She became overwhelmed with her
  12
       work and was absent a great deal of the time. Id.; 4/6/20 Feferman Decl., ¶ 5. As
  13
       Ms. Haycook fell further behind in her work, the Debtor’s IT manager and Head of
  14
       Human Resources assumed accounting functions. Bass Decl., ¶ 5. This presented a
  15
       huge challenge in keeping the Debtor’s accounting system in sync with the
  16
       transactions that were happening on a day-to-day basis, including keeping track of
  17
       outsourcing transactions with Simpson Labs, Inc. (“Simpson”). Id., ¶¶ 6-9. Among
  18
       other things, physical inventory counts always showed large shortages compared to
  19
       what was in the accounting system. Id., ¶ 6.
  20
             Because of the Former CRO’s recognition of the Debtor’s severe accounting
  21
       defects, it was critical for the Former CRO that the Engagement Agreement reflect the
  22
       understanding of all constituents that in discharging his duties the Former CRO would
  23
       rely heavily (for better or worse) on information provided to him by employees of
  24
       Debtor. In particular, the Former CRO: was “entitled to rely on the accuracy and
  25
       validity of the data disclosed to [him] or supplied to [him] by employees and
  26
       representatives of the Corporation” (id. § 4), was not expected to “perform an audit,”
  27
       was “under no obligation to update data submitted to [him] or review any other areas”
  28
       (id.); and would be expected to “rely[] on information provided by other members of

                                                   4
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   1
       the Corporation’s management in the preparation of … projections and other forward-
   2
       looking statements.” (id. § 1(e)). These terms were critical to the Former CRO’s
   3
       acceptance of the engagement and he would not have accepted the engagement
   4
       without such terms. 4/6/20 Feferman Decl., ¶ 6.
   5
             The Former CRO nonetheless diligently worked to find solutions to the
   6
       Debtor’s severe accounting defects. As set forth in the 1/23/18 Feferman Declaration
   7
       (Exhibit 1 to the CRO Engagement Order), the Former CRO negotiated to employ
   8
       accountant Alan Myers because he was “needed to assist the CRO with assessing the
   9
       problems in the Debtor’s accounting department, as well as become familiar with the
  10
       Debtor’s accounting system in order to mitigate disruptions that may occur as a result
  11
       of the bookkeeper’s ill health.” 1/23/18 Feferman Decl., ¶ 5. Per the Engagement
  12
       Agreement, Mr. Myers was only permitted to bill 20 hours a month. Engagement
  13
       Agreement § 2. Unfortunately, that amount of time was drastically insufficient to gain
  14
       control of the unwieldy accounting system. 4/6/20 Feferman Decl., ¶ 7. The state of
  15
       disarray that the Debtor’s accounting department was in at the time Mr. Myers began
  16
       his work is captured in a descriptive email from Mr. Myers to the Former CRO on
  17
       February 16, 2018:
  18
                      Kathy’s office is a bit of a mess, with stacks of paper and boxes here and
  19
                      there with no clearly defined order. As of today, January's bank accounts
  20                  have not been reconciled. Kathy receives a tremendous amount of
  21                  information (payments received, payments owed, invoices, etc.) thru her
  22
                      email. She must go thru hundreds of emails to discover what information
                      they contain that is needed to update the accounting system.
  23
       Id., Ex. B.
  24
             In an effort to get more help organizing the accounting system, the Former CRO
  25
       conveyed the issues regarding the Debtor’s accounting system to the Debtor’s secured
  26
       creditor, Bank of America, the Debtor’s Counsel, the Office of the United States
  27
       Trustee (“UST”) and the Court. Id., ¶ 8. The UST suggested that the Former CRO
  28
       bring in an additional temporary employee (which would have been ineffective under

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   1
       the circumstances) and Bank of America opposed the Former CRO spending any
   2
       money whatsoever for any qualified accounting employees. Id.
   3
             As a result of the Debtor having a non-functioning accounting department, it
   4
       was difficult for the Former CRO to get timely and accurate accounting information
   5
       which, in turn, impeded his ability to ensure that the all of the information the Court
   6
       received in Court filings was accurate and consistent across various kinds of
   7
       accounting documents. Id., ¶ 9. The Former CRO informed the Court of these issues
   8
       on multiple occasions, including in his March 1, 2018 Declaration in Support of
   9
       Estimated Distribution Forecast, attached as Exhibit C to the 4/6/20 Feferman
  10
       Declaration (“2/1/18 Feferman Declaration”).       In that testimony, the Former CRO
  11
       informed the Court regarding the situation, including Ms. Haycook’s health issues and
  12
       absenteeism, stating that “the debtor remains reliant on its sole accounting employee
  13
       [i.e., Ms. Haycook] for information maintained in her unique and proprietary filing
  14
       and data storage systems” and that “without [Ms. Haycook] the Debtor will lose her
  15
       historical knowledge.” 2/1/18 Feferman Decl., ¶ 7; see also 4/6/20 Feferman Decl., ¶
  16
       9. Unfortunately, Ms. Haycook became even less able to assist the Former CRO after
  17
       that March 1, 2018 declaration was filed because she was rarely present and almost
  18
       never in a position to be helpful. 4/6/20 Feferman Decl., ¶ 10.
  19
             Making the situation more difficult was the fact that the Debtor was represented
  20
       by inexperienced counsel, on whom the Former CRO was forced to rely. As the Court
  21
       observed many times in these proceedings, including in its December 4, 2018
  22
       Tentative Ruling (Dkt. 288), attached as Exhibit A to the Trustee’s Request for
  23
       Judicial Notice in Support of the Motion (“Trustee’s RJN”), the Debtor had retained
  24
       bankruptcy counsel completely unfit to handle a Chapter 11 bankruptcy proceeding.
  25
       Trustee’s RJN, Ex. A at 3. Despite the Former CRO’s requests, Bank of America
  26
       would not agree to allow the Former CRO to use cash collateral to get a lawyer
  27
       qualified to advise him. 4/6/20 Feferman Decl., ¶ 11. The Former CRO suggested
  28
       hiring the firm Gordon Rees, which is known for doing good work and having

                                                   6
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   1
       reasonable fees, but these efforts were rejected. Id.
   2
                Ultimately, the foregoing problems compounded to make it difficult at times to
   3
       obtain information from the Debtor and clearly communicate that information to the
   4
       Court.      But notwithstanding the Court’s understandable frustration with the
   5
       information and reports it had received throughout the proceedings, and in the midst
   6
       of the challenges faced throughout his appointment, the Former CRO at all times
   7
       exercised sound business judgment and diligently discharged his duties for the benefit
   8
       of the creditors and the Court.       As set forth more fully below, and among other
   9
       achievements, the Former CRO kept Simpson at the negotiating table despite
  10
       numerous obstacles and ultimately negotiated a deal with Simpson that allowed the
  11
       Former CRO to turn over $1,818,343.54 in cash to the Chapter 7 Trustee. The Former
  12
       CRO also ensured that the Debtor’s operations were kept to the bare minimum level
  13
       required to preserve the resale value of its customer base and goodwill while
  14
       minimizing the rate of cash depletion.
  15
          B. The Former CRO Perseveres to Negotiate a Sale of Debtor’s Assets to the
  16
             Benefit of the Creditors.
  17            The most significant “duty and power” the CRO was tasked with was the
  18   handling of a sale of Debtor’s assets in a manner that would maximize value to
  19   creditors. See Engagement Agreement § 1(b)(ii). Above all else, the value the Former
  20   CRO was expected to deliver was through his work in managing the sale of Debtor’s
  21   assets. See e.g., RJN, Ex. 1 (Mem. ISO Mot. to Retain CRO) at 7-8 (“The Debtor
  22   requires the services of an experienced CRO to supervise the administration of the
  23   Debtor’s Chapter 11 case and, in particular, to manage the asset sale proceedings in
  24   this case.”); id. at 8 (“Mr. Feferman’s services will facilitate greatly the Debtor’s
  25   efforts to achieve a successful sale process in this case, for the benefit of the Debtor’s
  26   creditors.”); id. at 18 (“Mr. Feferman has substantial experience and expertise in the
  27   sale of financially-distressed businesses. Mr. Feferman’s leading the Debtor’s efforts
  28   to sell substantially all of the Debtor’s assets will facilitate efficient and effective sale


                                                     7
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   1
       proceedings and will enhance the prospects for a successful resolution of this case for
   2
       the benefit of creditors of the Debtor.”).
   3
                  Mr. Feferman brought his talent, experience and expertise in the sale of
   4
       financially distressed businesses to bear in this case for the benefit of all involved. It
   5
       was not an easy task and was made more difficult because of actions the Debtor took,
   6
       or failed to take, prior to the Former CRO’s involvement. As described in the Former
   7
       CRO’s March 16, 2018 declaration filed in connection with the sale of the Debtor’s
   8
       assets to Simpson Labs, Inc. (“Simpson”) (“3/16/18 Feferman Decl.”)2, in roughly
   9
       December of 2017, the Debtor’s and Simpson Labs, Inc.’s (“Simpson”)
  10
       representatives were discussing a possible sale transaction that would encompass all
  11
       of the Debtor’s assets. Simpson’s business team had been taken on a tour of the
  12
       Debtor’s facility, and a purchase price of $2 million for the sale of all or substantially
  13
       all of the Debtor’s assets, as a going concern, had been proposed. 3/16/18 Feferman
  14
       Decl., ¶ 29. Later professional teams got involved and pointed out that the Debtor’s
  15
       assets included both leased and owed equipment, a distinction that the business people
  16
       had not considered during their initial walk through and discussions. Simpson then
  17
       revised its offer to exclude the leased assets from its offer and it presented a revised
  18
       offer of $1.6 million offer for only the owned assets. Id. ¶ 30.
  19
                  The Debtor had also failed to disclose to Simpson the fact that it had learned
  20
       that its intellectual property may have been compromised. Id. ¶ 31. The intellectual
  21
       property compromised may have included, without limitation, batch records (e.g.,
  22
       “recipes” for products) and customer lists. Id. These were material assets and were a
  23
       significant component of the proposed purchase price. Id.
  24
                  The intellectual property had been compromised prior to the Former CRO’s
  25
       involvement. As soon as the Former CRO learned that the IP had been compromised
  26
       in the latter part of February 2018, he directed the Debtor to inform Simpson of that
  27
       fact, after first conferring with counsel. 4/6/20 Feferman Decl., ¶ 13. The Debtor did
  28
       2
           The March 16, 2018 declaration is attached to the 4/6/20 Feferman Declaration as Exhibit D.

                                                                   8
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   1
       so on February 19, 2018. 3/18/2018 Feferman Decl., ¶ 31.
   2
             Upon learning of the IP breach, Simpson called off the deal entirely. 4/6/20
   3
       Feferman Decl., ¶ 14.      The Former CRO then personally engaged Simpson’s
   4
       representatives in extensive negotiations that ultimately brought Simpson back to the
   5
       table, though initially at a drastically reduced offer price of $800,000.00 (it had been
   6
       at $1.6 million). Id. The Former CRO then continued to negotiate with Simpson’s
   7
       representatives, ultimately bringing the price up to $1.1 million, which was the price
   8
       incorporated in to the first draft Asset Purchase Agreement (“APA”) submitted to the
   9
       Court for approval. Id.
  10
             The Court declined to approve the sale pursuant to the first APA, expressing a
  11
       number of concerns reflected in the transcript of the hearing on that motion. See Dkt.
  12
       184. Some of the Court’s concerns were the result of miscommunication, rather than
  13
       actual substantive flaws with the transaction. For instance, a significant concern
  14
       expressed during the Court’s March 8, 2018 hearing was regarding the nature of the
  15
       Debtor’s relationship with Simpson, the company with whom the Debtor had an
  16
       outsourcing arrangement in place and which had always been the most likely prospect
  17
       to purchase the Debtor’s assets.      The Court was concerned as to whether the
  18
       outsourcing relationship with Simpson was in fact profitable to the Debtor. However,
  19
       as the Former CRO later explained in the 3/16/18 Feferman Declaration, and as further
  20
       set forth below, the relationship with Simpson was beneficial and profitable and the
  21
       Debtor had been selling inventory in the course of the relationship that otherwise
  22
       would have been difficult, if not impossible, to resell on the secondary market.
  23
             After the Court declined to approve the first APA, and Simpson had essentially
  24
       given up on the deal, the Former CRO met with Simpson’s representatives on a
  25
       weekend to coax them back to the negotiating table. 4/6/20 Feferman Decl., ¶ 15.
  26
       Through intense negotiations the Former CRO ultimately convinced Simpson’s
  27
       representatives to agree to terms of a deal that were highly favorable to the Debtor and
  28
       that addressed the Court’s concerns with the respect to the initial APA. Id.

                                                   9
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   1
             In particular, in negotiating the APA, the Former CRO negotiated a purchase
   2
       price of $1.454 million, an increase of over $300,000.00 from the prior purchase price.
   3
       See 4/6/20 Feferman Decl., ¶ 16, Ex. E-1 (APA). One of the most financially
   4
       significant aspects of the renegotiated APA was how customer deposits would be
   5
       handled. See 3/16/18 Feferman Decl., ¶¶ 36-39. By way of background, the Debtor
   6
       would take orders from customers and require a 30% cash deposit. Id., ¶ 36. At the
   7
       time of the negotiation with Simpson, the Debtor held $380,000 in cash deposits for
   8
       orders that it was at that point unable to fulfill. See id., ¶ 38. Without Simpson
   9
       assuming the fulfillment of the open orders, affected customers would have had a post-
  10
       petition administrative claim. Id. In negotiating the Second APA, the Former CRO
  11
       convinced Simpson to agree to fulfill the open customer orders while allowing the
  12
       Debtor to keep the $380,000 in customer deposits. 4/6/20 Feferman Decl., ¶ 17. This
  13
       was extremely favorable to the Debtor and took significant persuasion by the Former
  14
       CRO to get Simpson to accept what was effectively a 30% reduction in the sales price
  15
       on those open orders. Id.
  16
             Separately, at the time the parties were renegotiating the APA, Simpson owed
  17
       Debtor $129,818.80 with respect to “commissions” owed to Debtor on account of
  18
       outsourcing work sent to Simpson after the Petition Date, and the Debtor owed
  19
       Simpson $203,818.80 in post-petition accounts payable in connection with
  20
       manufacturing orders that it placed with Simpson. 3/16/18 Feferman Decl., ¶¶ 41-43.
  21
       This resulted in a $74,000 net balance due from the Debtor to Simpson. Id. As part
  22
       of the deal, the Former CRO convinced Simpson to waive any and all claims against
  23
       the Debtor with respect to the $74,000. Id.
  24
             There were many other aspects to the negotiation APA for which the Former
  25
       CRO brought his expertise to bear, including the intensive work entailed in valuation
  26
       of the assets sold. To get a sense of the value of the Former CRO’s efforts, and by
  27
       way of illustration, the following three components of the deal directly attributable to
  28
       the Former CRO are highlighted as follows: (1) the increase from $800,000.00 to $1.1

                                                  10
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   1
       million after the IP breach was disclosed, (2) the agreement by Simpson to take on
   2
       open customer orders while allowing the Debtor to keep customer deposits in the
   3
       amount of $380,000.00, and (3) the forgiveness of $74,000.00 in debt. 4/6/20
   4
       Feferman Decl., ¶ 18. The total value added of these items alone is $754,000.
   5
       Realistically, this number drastically understates the value the Former CRO delivered,
   6
       not least because without the Former CRO’s involvement Simpson would likely have
   7
       walked away from the deal altogether. Id.
   8
              In connection with getting the sale to Simpson negotiated and approved by the
   9
       Court, the Former CRO brought additional value to the estate by using his personal
  10
       friendship with Mette Kurth at the law firm Fox Rothschild to convince her to
  11
       represent the Debtor in the sale to Simpson at the significant risk that her fees would
  12
       ultimately not be paid. 4/6/20 Feferman Decl., ¶ 19. Ms. Kurth was instrumental in
  13
       ensuring that the transaction was competently handled and ensuring that the Court was
  14
       put in a position to make the necessary findings to approve the transaction. Id. The
  15
       presence of Ms. Kurth also helped convince Simpson to come back to the negotiating
  16
       table after the court declined to approve the first APA. Additionally, with Ms. Kurth’s
  17
       assistance, the Former CRO was able to prepare a declaration filed on March 16, 2018
  18
       that clarified some of the issues that had previously concerned the Court. See id., Ex.
  19
       D. These were things that the Former CRO could not accomplish with Mr. Hinze.
  20
       Id., ¶ 19.
  21
              In total, the deal with Simpson, of which the Former CRO was the chief
  22
       negotiator, allowed the Former CRO to turn over $1,818,343.54 in cash for the benefit
  23
       of creditors. Id., ¶ 20.
  24
          C. The Former CRO Diligently Markets the Debtor’s Assets.
  25
              Although ultimately Simpson was the only entity to make an offer to purchase
  26
       the Debtor, it was the Former CRO’s duty to market the Debtor broadly in his efforts
  27
       to maximize value to creditors. To that end, the Former CRO discharged this duty by
  28
       making substantial efforts to market the Debtor, as previously described in the 3/16/18

                                                    11
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   1
       Feferman Declaration, Paragraphs 18 through 27. In summary, the Former CRO did
   2
       the following: (1) met with four prospective prospects and continued to solicit offers
   3
       from each during the course of his involvement (3/16/18 Feferman Decl., ¶ 18), (2)
   4
       placed advertisements on leading online forum’s for the sale of businesses and
   5
       communicated with prospects who responded to those solicitations (id. ¶ 19, Ex. 1),
   6
       and (3) mailed a one-page summary “teaser” to 54 strategic prospects that the Former
   7
       CRO identified through industry publications (id., ¶ 20, Ex. 2).
   8
             In response to these marketing efforts, a total of seven parties executed non-
   9
       disclosure agreements and were provided detailed financial and operational due
  10
       diligence information. Id., ¶ 21. Five parties requested and were given a copy of the
  11
       sales procedures. Id. All prospects who signed non-disclosure agreements were
  12
       invited to tour the Debtor’s facilities. Id. Only one party, Simpson Labs, ultimately
  13
       made a formal cash offer to purchase any of the Debtor’s assets. Id.
  14
          D. The Former CRO Effectively Oversees the Debtor’s Business Operations
  15
             to Mitigate Losses and Preserve Value.
  16

  17
             The Former CRO was charged with the duty and power to “manage the business

  18
       and financial affairs of the Debtor.” Engagement Agreement § 1(b)(i). This, however,

  19
       was not a directive for the Former CRO to turn the Debtor’s business around and make

  20
       it profitable as a going concern. Quite the opposite is true. From the outset of the

  21
       CRO’s appointment, the CRO informed the Court that the Debtor would lose money

  22
       over the course of the bankruptcy administration, with the only variable being the

  23
       speed of the expected losses. At the February 8, 2018 hearing on the appointment of

  24
       the Former CRO, the Former CRO testified regarding the Debtor’s prospects as a

  25
       going concern:

  26                I STARTED WORKING ON THIS MATTER THE 26TH OF
                    DECEMBER. THERE IS NO SCENARIO THAT I'VE LOOKED
  27                AT THAT THIS DEBTOR DOES NOT RUN OUT OF MONEY
                    VERY SHORTLY. THERE’S A RANGE THERE DEPENDING ON
  28                WHAT WE DO WITH OPERATIONS,….
       RJN, Ex. 2 (2/8/2018 Hrg. Tr.) at 17:8-12.

                                                   12
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   1
                The Former CRO also explained to the Court that to preserve the value of the
   2
       business in the prospective sale to Simpson, a balance had to be struck between
   3
       shutting down operations to conserve cash and maintaining the value of the customer
   4
       base and goodwill which were valuable assets in the prospective acquisition. See id.
   5
       at 24.
   6
                To that end, the Former CRO exercised sound business judgment to direct that
   7
       operations be reduced to a minimum, while maintaining the skeletal operations
   8
       necessary to allow Debtor to collect on its accounts receivable and to preserve
   9
       Debtor’s customer base and goodwill which were integral to its value to prospective
  10
       purchasers. 4/6/20 Feferman Decl., ¶ 21. To do so effectively, the Former CRO
  11
       worked daily with the Debtor’s line managers and manager of Human Resources in a
  12
       constant dialogue on how to minimize the number of employees and on what could
  13
       be effectively outsourced to Simpson. Id.
  14
                As described in the Former CRO’s March 16, 2018 declaration in support of
  15
       Debtor’s second motion concerning sale of assets to Simpson, the Debtor’s
  16
       outsourcing arrangement with Simpson had resulted in a net profit to the estate on the
  17
       outsourcing contracts of approximately 6-7%. See 3/16/18 Feferman Decl., ¶¶ 13-14.
  18
       And the arrangement entailed benefits to the estate far in excess of the profit margin,
  19
       as described in the same declaration:
  20

  21                 a.        Perishable inventory such as Core’s raw materials is likely to have
  22                           little or no resale or liquidation value. The Simpson outsourcing
                               arrangement allowed Core to sell $263,657 in what where likely
  23
                               otherwise worthless raw materials to Simpson for $268,400 in
  24                           cash.
  25                  b.       Continuing to support customer orders and relationships likely
  26                           significantly enhanced the collectability of Core’s accounts
                               receivable, aiding in the collection of more than $700,000 in
  27
                               accounts receivable since the Petition Date.
  28



                                                      13
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   1                 c.       The Simpson relationship provided Core with essential liquidity,
   2                          allowing it to continue skeleton operations while preserve its
                              customer base and goodwill.
   3
       Id. ¶ 7. Keeping this arrangement in place during the course of the proceedings was
   4

   5
       beneficial to the estate. See id.

   6
          E. The Former CRO’s Reports Regarding Tasks Performed and Time
   7         Entries Demonstrate that He Diligently Discharged His Duties.
   8
               Pursuant to the Court’s CRO Engagement Order (4/6/20 Feferman Decl., Ex.
   9
       A), the Debtor was authorized to, and did, pay the Former CRO $23,870.97 for
  10
       services rendered from December 26, 2017, through February 1, 2018, reasonable
  11
       costs not to exceed $1,000.00, and the $20,000 deposit called for in the Fee
  12
       Agreement, which was security to be applied toward the final bill. Id. at 2. After
  13
       receipt of those amounts, the CRO was directed to file and serve a Report of Tasks
  14
       Performed supported by detailed time sheets and expense reports. Id. The Former
  15
       CRO submitted his Report of Tasks Performed, along with detailed time sheets and
  16
       expense reports on April 2, 2018, covering the period between December 26, 2017
  17
       and January 31, 2018. See Dkt. 230-1, attached as Exhibit F to the 4/6/20 Feferman
  18
       Decl.
  19
               As to fees incurred by the Former CRO after February 1, 2018, concurrently
  20
       with this Opposition, the Former CRO has filed and served a Second Report of Tasks
  21
       Performed by Chief Restructuring Officer with Supporting Back-up covering work
  22
       done in February and March of 2018 (the “Second Report of Tasks”). The Second
  23
       Report of Tasks is also attached as Exhibit G to the 4/6/20 Feferman Declaration and
  24
       is incorporated by reference herein.
  25
               As reflected therein the Former CRO’s fees for the period covering February 1,
  26
       2018 to March 31, 2018, including fees for his staff member Alan Meyer, totaled
  27
       $49,600.00, subject to amendment and verification with an additional $775.60 of
  28
       expenses. Since the Former CRO received the $20,000.00 deposit covering his final

                                                     14
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   1
       month of work, only $30,375.60 remain to be paid.
   2
             All the tasks performed from December 26, 2017 through March 31, 2018 were
   3
       integral to generating the value that the Former CRO ultimately was able to cultivate
   4
       for the benefit of the creditors. Every action the Former CRO took as CRO, both
   5
       before and after his formal appointment, was done using the best of his business
   6
       judgment exercised for the sole purpose of maximizing the value of the estate for the
   7
       creditors’ benefit. 4/6/20 Feferman Decl., ¶ 24. This includes, among many other
   8
       things, examining and identifying and valuating assets that had the potential to be sold
   9
       to prospective buyers, engaging in marketing and valuation efforts, attending to
  10
       operational issues, meeting and corresponding with prospective buyers and
  11
       responding to due diligence requests, attending to the various court filings at the
  12
       advice and direction of the Debtor’s counsel, meeting and negotiating with the
  13
       Debtor’s creditors, negotiating the sale to Simpson and reasonable and necessary
  14
       travel. See id., Exs. F-G.
  15
          F. The Former CRO is Compensated out of Bank of America’s Portion of
  16
             Cash Collateral.
  17

  18
             The Debtor’s biggest creditors were Bank of America, N.A. and Banc of

  19
       America Leasing & Capital, LLC (collectively, “Bank of America”) who held secured

  20
       claims on the Debtor’s estate totaling $1,805,825.02.

  21
             From the outset, Bank of America was supportive of the Debtor’s efforts to

  22
       retain the Former CRO. See, e.g., RJN, Ex. 2 (2/8/2018 Hrg. Tr.) at 14-15. So much

  23
       so, in fact, that Bank of America not only consented to the use of cash collateral to

  24
       compensate the Former CRO, but further agreed that his compensation could be

  25
       carved out from Bank of America’s portion of collateral so that the Former CRO could

  26
       be paid his fees:

  27
                    MS. RHIM: YOUR HONOR, OUR AGREEMENT WITH THE
  28                CRO, AND WE'VE BEEN APPRECIATIVE OF HIS EFFORTS, IS THAT
                    THE BANK WILL CONSENT TO THE USE OF CASH COLLATERAL TO


                                                  15
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   1                COMPENSATE MR. FEFERMAN, OR HIS FIRM, I SHOULD SAY,
                    PURSUANT TO THE AMOUNT AS REQUESTED IN HIS APPLICATION
   2                AND PURSUANT TO THE PROCEDURES. THERE'S SORT OF A
                    NOTICE AND OPPORTUNITY TO OBJECT PROCEDURE. SO PURSUANT
   3
                    TO THOSE PROCEDURES THAT WILL BE SET OUT IN AN ORDER
   4                AUTHORIZING HIS EMPLOYMENT, WE WOULD CONSENT TO THAT.
                    WE HAD A LOT OF DISCUSSION BECAUSE OF A
   5                CONCERN OF WHAT HAPPENS REGARDING HIS ABILITY TO GET
                    PAID IF USE OF CASH COLLATERAL IS NO LONGER AUTHORIZED.
   6                AND BANK OF AMERICA HAS AGREED THAT EVEN
                    POST-TERMINATION OF REGARDING AUTHORITY TO USE CASH
   7                COLLATERAL THAT B OF A WOULD BE WILLING TO EXTEND A
   8                CARVE-OUT FROM ITS COLLATERAL SO THAT MR. FEFERMAN COULD
                    BE PAID ANY OUTSTANDING UNPAID FEES ASSUMING THAT THE
   9                WORK IS THROUGH THE END OF APRIL OF 2018.

  10   Id. (emphasis added)
  11         On September 27, 2018, after this case had been converted to Chapter 7, the
  12   Court issued an Order on Uncontested Notice of Intended Action Regarding Approval
  13   of Trustee’s Settlement Agreement with Bank of America, N.A. and Banc of America
  14   Leasing & Capital, LLC Debtor: Core Supplement Technology, Inc., Docket No. 269
  15   (the “BofA Settlement”), attached to the concurrently filed RJN as Exhibit 3. In the
  16   BofA Settlement, Bank of America agreed to receive $1,407,743.54 in exchange for
  17   a full release of claims. RJN, Ex. 3. In Recital F to the BofA Settlement, Bank of
  18   America asserted a security interest in substantially all of the assets sold, and those
  19   assets excluded from the sale, to Simpson. Id. In Recital G, Bank of America agrees
  20   to compensate the Former CRO and Mr. Myers for all services rendered prior to the
  21   effective date of the BofA Settlement by permitting the Trustee to pay those expenses
  22   using the assets over which Bank of America held secured claims:
  23                The Trustee has requested that Creditor be required to pay various
  24                expenses relating to or for the Debtor and/or Creditor in connection with
                    Debtor’s financial affairs and the case, including without limitation fees,
  25
                    costs and expenses respecting services provided by Richard Feferman,
  26                CIRA, Alan Myers, CPA, and their related firms prior to the Effective
  27                Date of this Agreement (any and all such expenses, the “Reorganization
  28                Expenses”) … As such, Creditor has agreed to permit Reorganization
                    Expenses to be satisfied from the Excluded Assets [i.e., those assets

                                                  16
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   1                      excluded from the sale to Simpson], namely the Customer Deposits.”
   2   Id.
   3
             G. The Present Procedural Posture.
   4

   5              On December 6, 2018, in response to the filing of certain fee applications, this
   6   Court issued a Tentative Ruling (Dkt. 288)3 in which the Court stated that “the court
   7   is concerned why there is no disgorgement from the CRO on his own fees particularly
   8   because the court does not see any significant benefit to the fees provided by him.”
   9   The Court observed that it had “modified its own order [regarding the Former CRO’s
  10   compensation] to ensure that his fees would be subject to disgorgement.” The Court
  11   continued that “[w]hile Trustee claims this disparity is due to these fees being paid
  12   from cash collateral, the court certainly did not expressly approve a disparate payment
  13   to the CRO.” Id.
  14              Over approximately a year, the Trustee and counsel for the Former CRO were
  15   in communication in an attempt to resolve these issues. No resolution could be
  16   reached. On March 3, 2020, the Trustee filed its Motion.
  17

  18
                                                     III.     ARGUMENT
  19
             A. Legal Standard for Disgorgement—a Harsh Remedy that Must be
  20            Mandated by the Equities.
  21              Absent from the Motion is a statement of the legal standard for disgorgement.
  22   Although the Court made clear in its Order Appointing the CRO that his fees would
  23   be “subject to disgorgement,” this reservation (which applies by default in connection
  24   with applications for compensation in the Southern District)4 does not set forth a legal
  25   standard for when disgorgement is justified. The Trustee has made no showing that it
  26   would be.
  27              Under the heading “DISGORGEMENT IS AUTHORIZED UNDER THE
  28
       3
           The Tentative Ruling is attached as Exhibit A to the Trustee’s RJN.
       4
           See Form CSD 1144, available at https://www.casb.uscourts.gov/sites/casb/files/documents/forms/CSD1144_1.pdf.

                                                                17
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   1
       BANKRUPCY CODE AND APPLICABLE CASE LAW” the Trustee cites
   2
       Bankruptcy Code Section §726(b) and In re Lochmiller Indus., Inc., 178 B.R. 241
   3
       (Bankr. S.D. Cal. 1995) in support. However, Lochmiller and Section 726(b) do not
   4
       support the Motion for the reasons set forth in In re Home Loan Serv. Corp., 533 B.R.
   5
       302, 306 (Bankr. N.D. Cal. 2015). That case is helpful here.
   6
             In Home Loan, a chapter 7 trustee brought a motion for disgorgement of interim
   7
       attorney’s fees paid to the Debtor’s chapter 11 counsel. In denying the motion, the
   8
       Court first noted that “Section 726(b) does not provide for a disgorgement remedy.”
   9
       Id.
  10
             Second, the court observed that “[t]he practice of bankruptcy law in the Ninth
  11
       Circuit supports the view that § 726(b) does not authorize disgorgement of earned and
  12
       paid chapter 11 administrative expenses solely in order to pay chapter 7 administrative
  13
       expenses.” Id. at 307.
  14
             The court observed further that it was “aware of only a single case within the
  15
       Ninth Circuit where any court actually ordered disgorgement of earned and paid
  16
       chapter 11 administrative expense fees solely in order to pay chapter 7 administrative
  17
       expenses,” citing Lochmiller. The court explained that Lochmiller was “very unusual
  18
       in several important respects,” which are relevant here. First, the bankruptcy court in
  19
       Lochmillier acknowledged that “[n]either the parties to this action nor this Court have
  20
       discovered a case in which Chapter 11 processionals were actually ordered to disgorge
  21
       fees and costs paid.” Id. (quoting Lochmiller, 178 B.R. at 251). Second, the order
  22
       appointing the professionals in Lochmiller specifically conditioned payment of the
  23
       administrative professionals on there being sufficient funds in the Chapter 7
  24
       proceedings, and expressly stated in that order that the professional would be subject
  25
       to “disgorgement in the event that the Chapter 7 Estate’s assets are insufficient to
  26
       satisfy Chapter 11 administrator (sic) expenses in full.” Id. (quoting Lochmiller, 178
  27
       B.R. at 244).
  28
             Finally, the court in Home Loan observed that in Lockmiller there was no

                                                  18
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   1
       challenge to the court’s authority to order disgorgement of chapter 11 administrative
   2
       fees. See id.
   3
             The court in Home Loan summarized its findings concerning the applicability
   4
       of Lockmiller as follows:
   5
                       In sum, the Lochmiller court, in this twenty-year-old case, appointed the
   6
                       chapter 11 professionals expressly conditional on the possibility of
   7                   disgorgement upon chapter 7 administrative insolvency, so that the
   8                   chapter 11 professionals could not reasonably argue that they had relied
   9
                       on being able to keep their earned and paid fees during the chapter 11.

  10   Id. For the same reasons, the Trustee’s reliance on Lockmiller is misplaced.

  11         As explained in Home Loan, where a court exercises its discretion to apply the

  12   “harsh remedy” of disgorgement, it should do so only “when mandated by the equities

  13   of the case.” Id. at 309 (quoting In re Anolik, 207 B.R. 34, 39–40 (Bankr. D. Mass.

  14   1997)). The court cited factors that another district court had used to assess the

  15   equities, including: “whether the party facing disgorgement had a reasonable

  16   expectation that the payment received was final, and whether any party who would

  17   suffer from nondisgorgement has objected to the trustee’s proposed final distribution.”

  18   Id. at 309-10 (quoting In re Anolik, 207 B.R. 34, 39–40 (Bankr. D. Mass. 1997)).

  19         More generally, the law in the Ninth Circuit is that—although “disgorgement

  20   solely on the basis of section 726(b) is impermissible”—a court “may, in the exercise

  21   of its discretion, order disgorgement or turnover for other reasons, including (but not

  22   limited to) instances when a professional has not provided services commensurate

  23   with the retainer or has not properly disclosed the secured interest in the retainer.” In

  24   re Dick Cepek, Inc., 339 B.R. 730, 737, n. 8 (B.A.P. 9th Cir. 2006) (citation omitted);

  25   see also Home Loan, 533 B.R. at 310 (“[T]he bankruptcy court has the ability to

  26   review fees on the basis of whether they were reasonably earned when the work was

  27   done, without resort to § 726(b) or to disgorgement based on chapter 7 administrative

  28   insolvency.”) (emphasis added). As set forth above, the Former CRO provided
       services commensurate with his Engagement Agreement and reasonably earned his

                                                    19
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   1
       compensation.
   2
          B. The Equities do not Support Disgorgement Here.
   3
             None of the factors that courts have applied to support disgorgement apply here.
   4
       In particular: (a) the Former CRO’s services were commensurate with the Engagement
   5
       Agreement, were reasonably earned when incurred and his services significantly
   6
       benefited the estate, (b) the Former CRO had a reasonable expectation that the
   7
       payment he received, and the payment that has been earmarked for him to receive in
   8
       the BofA Settlement, were final and (c) no party who would suffer from
   9
       nondisgorgement has objected to the distribution of the Former CRO’s fees.
  10

  11         1. The Former CRO’s Fees were Commensurate with the Engagement
                Agreement, were Reasonably Earned and Resulted in a Large Return
  12
                to Creditors.
  13         The Trustee makes no attempt to demonstrate that the Former CRO did provide
  14   services commensurate with the Engagement Agreement, did not reasonably earn his
  15   compensation, that he was negligent in the discharge of his duties, that his fees were
  16   excessive, or that he did not deliver significant value to the creditors. Instead, the
  17   Trustee merely quotes the Court’s December 6, 2018 Tentative Order and states that
  18   “[t]he implication of the Court’s directive was that the CRO was negligent in the
  19   dispatch of his duties.” Kipperman Decl., ¶ 4. But bare reference to a concern
  20   expressed by the Court without any further reference, elaboration or evidence fails to
  21   satisfy the Trustee’s burden to support its Motion.
  22         Moreover, as set forth above and in the supporting declarations, the Former
  23   CRO delivered significant benefit to the Debtor and its creditors in earning his fees.
  24   Every action the Former CRO took in his role as CRO, both before and after his formal
  25   appointment, was done using the best of his business judgment for the sole purpose of
  26   maximizing the value of the estate for the creditors’ benefit. Feferman Decl., ¶ 24.
  27   The record demonstrates that the Former CRO discharged his duties in a timely and
  28   skillful manner, and that all time spent on this matter was reasonably necessary to the


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   1
       performance of his duties.
   2
             As set forth on pages 2 through 7 above, the Former CRO faced many
   3
       challenges in discharging his duties, most of which no individual could possibly
   4
       control. Critically, the Former CRO did not have a duty to repair the Debtor’s broken
   5
       accounting system or restore its profitability as a going concern. The Court approved
   6
       the Former CRO’s engagement on the express understanding that he would be
   7
       “entitled to rely on the accuracy and validity of the data disclosed to [him] or supplied
   8
       to [him] by employees and representatives of the Corporation” (id. § 4), that he was
   9
       not expected to “perform an audit” (id.), that he was “under no obligation to update
  10
       data submitted to [him] or review any other areas” (id.), and that he would be expected
  11
       to “rely[] on information provided by other members of the Corporation’s
  12
       management in the preparation of … projections and other forward-looking
  13
       statements” (id. § 1(e)). The Engagement Agreement and CRO Engagement Order
  14
       should be honored and the Former CRO should not now be held culpable for the
  15
       Debtor’s accounting defects.
  16
             Moreover, the Former CRO made every reasonable effort to correct the
  17
       Debtor’s accounting problems and those attempts were thwarted by other constituents.
  18
       4/6/20 Feferman Decl., ¶¶ 7-8. His attempts to bring on competent bankruptcy
  19
       counsel were also thwarted. Id., ¶ 11.
  20
             Nonetheless, the Former CRO worked diligently to bring value to the creditors
  21
       and ultimately delivered that value in the form of $1.818.343.54 for the Trustee to
  22
       distribute. In so doing, the Former CRO discharged those duties he was brought on
  23
       to perform. His greatest value was his “substantial experience and expertise in the
  24
       sale of financially-distressed businesses” and the Debtor’s expectation was that his
  25
       efforts to sell the Debtor’s assets would benefit the Debtor’s creditors. RJN, Ex. 1
  26
       (Motion to Retain CRO) at 18. As set forth on pages 10 through 11 above, merely
  27
       selecting for illustration three negotiable terms of the APA that were negotiated by
  28
       and directly attributable to the Former CRO’s efforts demonstrates that his efforts

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       added $754,000 in value. This alone is a substantial (over tenfold) return on the
   2
       investment of the $74,246.57 in reasonable compensation for his (and Alan Myers’s)
   3
       services over the entire duration of the engagement.
   4
             And even where the value-added cannot be so neatly traceable to the Former
   5
       CRO’s efforts, every task performed by the Former CRO during the course of his
   6
       appointment was performed diligently and professionally, in a timely and skillful
   7
       manner, was within the scope of his engagement, and utilized sound business
   8
       judgment to advance the interests of the creditors. Those tasks—which are reflected
   9
       in the two Reports of Tasks Performed incorporated by reference into this
  10
       Opposition—include, among many other things, his substantial efforts to find buyers
  11
       other than Simpson (see pages 11 through 12 above), the work he did to keep the
  12
       Debtor’s operations running at optimal levels (pages 12 through 14 above), and his
  13
       day-to-day efforts to engage creditors, better understand the Debtor’s financial and
  14
       operational situation and reign-in what was a haphazard, disorganized and incoherent
  15
       accounting system (pages 14 through 15 above). That some initiatives did not
  16
       materialize does not mean the Former CRO’s did not reasonably earn his
  17
       compensation for the time he spent on those tasks.
  18
             Quite simply, disgorgement here would be harsh, inequitable and unjustified
  19
       and totally unsupported by the Motion.
  20

  21         2. The Former CRO had and has a Reasonable Expectation of Final
  22            Payment.
  23         As set forth above (pages 15 through 16), the Former CRO accepted his
  24   engagement with the express agreement from Bank of America that it would “extend
  25   a carve-out from its collateral so that Mr. Feferman could be paid any outstanding
  26   unpaid fees assuming that the work is through the end of April of 2018.” RJN, Ex. 2
  27   (2/8/2018 Hrg. Tr.) at 5-10. Since Bank of America would carve out a portion of its
  28   claim to pay the Former CRO, the Former CRO reasonably expected that any payment


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       he received from the Debtor would be final. Moreover, Bank of America expressly
   2
       agreed in the BofA Settlement to authorize the payment of the Former CRO’s
   3
       compensation from its cash collateral. Accordingly, the Former CRO had, and has, a
   4
       reasonable expectation that he would receive payment from the portion of the assets
   5
       that were otherwise earmarked for Bank of America.
   6
             3. No Party would Suffer from Nondisgorgement and None has Objected
   7
                to the Former CRO’s Fees.
   8
             Other than the Trustee—who does not actually claim he will suffer from
   9
       nondisgorgement—no other party claims that it would suffer from nondisgorgement
  10
       or has objected to the Former CRO’s compensation paid to date. To the extent any
  11
       party objects to the fees still due to the Former CRO, it is not the case that those parties
  12
       “would suffer from nondisgorgement.” Because Bank of America assigned to the
  13
       Former CRO funds to which Bank of America was entitled, Bank of America would
  14
       have priority to those funds if they were disgorged. Thus, any administrative claimant
  15
       who objects to payment of the Former CRO’s fees would not suffer from
  16
       nondisgorgement. In other words, the only party who will benefit from disgorgement
  17
       is Bank of America.
  18

  19         4. Disgorgement would Not Benefit Administrative Claimants or
                Chapter 7 Creditors.
  20
             The Trustee himself concedes that “it is unclear from the Modified Order [i.e.,
  21
       the order appointing the Former CRO] whether recovery would benefit the Chapter 7
  22
       Estate or Bank of America.” In fact, however, it is clear: since Bank of America
  23
       assigned to the Former CRO funds to which Bank of America would have otherwise
  24
       been entitled, Bank of America would have priority to those funds if they were
  25
       disgorged. Thus, even if it were equitable to order disgorgement here—and it is not—
  26
       it would only benefit a single party: Bank of America.
  27
  28      C. The Former CRO Requests a Trial on All Disputed Issues of Fact.
             Based on the foregoing, the Former CRO contends that the following material

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       facts are not in dispute: his fees were reasonably earned at the time they were incurred,
   2
       he brought extraordinary value to creditors, he had and has a reasonable expectation
   3
       of receiving and retaining his earnings, and no party would suffer from
   4
       nondisgorgement. The Trustee presented no evidence to put these facts in dispute.
   5
       Accordingly, the Motion should be denied without further proceedings.
   6
             To the extent the Court finds that any of these facts are disputed, however, the
   7
       Former CRO requests trial of this contested matter. In a contested matter where there
   8
       are genuine factual disputes, the trial court must allow for trial testimony in open court.
   9
       See In re Khachikyan, 335 B.R. 121, 126 (B.A.P. 9th Cir. 2005) (citing Fed. R. Bankr.
  10
       P. 9014(d)). The advisory committee note to Subdivision (d) of Rule 9014 provides
  11
       that subdivision (d) was added to the Rule “to clarify that if the motion cannot be
  12
       decided without resolving a disputed material issue of fact, an evidentiary hearing
  13
       must be held at which testimony of witnesses is taken in the same manner as testimony
  14
       is taken in an adversary proceeding or at a trial in a district court civil case.” Fed. R.
  15
       Bankr. P. 9014(d), advisory comm. note to 2002 amendment.
  16
             This also entitles the Former CRO to conduct discovery as to these disputed
  17
       facts. See Khachikyan, 335 B.R. at 126. Among other things, the Former CRO would
  18
       seek discovery from the Trustee, former employees of the Debtor, Bank of America,
  19
       and other individuals and entities with relevant information regarding the issues in
  20
       dispute.
  21
             Accordingly, if the Court does not deny the Motion at this stage (it should), the
  22
       Former CRO respectfully requests that the Court set this contested matter for trial at
  23
       a date further enough in the future to give the Former CRO an opportunity to obtain
  24
       relevant discovery.
  25                                      IV.    CONCLUSION
  26
       For the foregoing reasons, the Motion should be denied.
  27
  28
       DATED: April 6, 2020                     LYNN PINKER COX & HURST, LLP

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   1
                                     By: /s/ Eliyahu Ness
   2
                                         EDWARD JASON DENNIS
   3                                     (Pro hac vice application pending)
                                         ELIYAHU NESS
   4
                                         Attorneys for Corporate Recovery Associates,
   5                                     LLC and Richard Feferman
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